                                       1   Geoffrey S. Kercsmar (#020528)
                                           Gregory B. Collins (#023158)
                                       2
                                           Sean J. O’Hara (#024749)
                                       3   KERCSMAR & FELTUS PLLC
                                           7150 East Camelback Road, Suite 285
                                       4   Scottsdale, Arizona 85251
                                       5   Telephone: (480) 421-1001
                                           Facsimile: (480) 421-1002
                                       6   gsk@kflawaz.com
                                           gbc@kflawaz.com
                                       7
                                           sjo@kflawaz.com
                                       8
                                           Attorneys for Amnio Technology LLC
                                       9
                                                               IN THE UNITED STATES DISTRICT COURT
                                      10
                                                                    FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12
                                           Amnio Technology LLC,                             Case No. 2:15-cv-00095-SRB
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
                                                                Plaintiff,
           (480) 421-1001




                                      14
                                                  v.                                         NOTICE OF SETTLEMENT
                                      15
                                           BioDlogics LLC,
                                      16
                                                                Defendant.
                                      17
                                      18          Plaintiff Amnio Technology, LLC gives notice that the parties to this action have

                                      19   executed a Memorandum of Understanding concerning settlement. Upon completion of

                                      20   the final settlement documents, the parties anticipate that they will be filing a stipulation

                                      21   for dismissal.

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                                           DATED this 19th day of April, 2016.
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                                       2                              KERCSMAR & FELTUS PLLC
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                                       4                          By: s/ Sean J. O’Hara
                                       5                              Geoffrey S. Kerscmar
                                                                      Gregory B. Collins
                                       6
                                                                      Sean J. O’Hara
                                       7                              7150 East Camelback Road, Suite 285
                                                                      Scottsdale, Arizona 85251
                                       8                              Attorneys for Amnio Technology LLC
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7150 East Camelback Road, Suite 285




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     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




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           (480) 421-1001




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                                                                    CERTIFICATE OF SERVICE
                                       1
                                                I certify that on April 19, 2016, I electronically transmitted the foregoing to the
                                       2   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                       3   Electronic Filing to the following:
                                       4   David B. Rosenbaum
                                       5   Brett L. Dunkelman
                                           Eric M. Fraser
                                       6   Osborn Maledon PA
                                       7   2929 North Central Avenue, Suite 2100
                                           Phoenix, Arizona 85012
                                       8   drosenbaum@omlaw.com
                                           bdunkelman@omlaw.com
                                       9   efraser@omlaw.com
                                      10
                                           Daniel F. Diffley
                                      11   Alston & Bird LLP
                                           One Atlantic Center
7150 East Camelback Road, Suite 285




                                      12
                                           1201 West Peachtree Street
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13   Atlanta, Georgia 30309-3424
           (480) 421-1001




                                           dan.diffley@alston.com
                                      14
                                      15   Michael J. Newton
                                           Brady Cox
                                      16   Alston & Bird LLP
                                           2828 North Harwood Street, 18th Floor
                                      17
                                           Dallas, Texas 75201-2139
                                      18   mike.newton@alston.com
                                           brady.cox@alston.com
                                      19
                                      20
                                      21   s/ Brandi Bies
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